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11

12                            UNITED STATES DISTRICT COURT

13                      FOR THE CENTRAL DISTRICT OF CALIFORNIA

14                                  WESTERN DIVISION

15   UNITED STATES OF AMERICA,                No. 2:21-cv-09819

16              Plaintiff,                    COMPLAINT FOR FORFEITURE

17                    v.                      21 U.S.C. § 881(a)(6)

18   2849.09758934 IN MONERO DIGITAL          [H.S.I.]
     CURRENCY, 0.12554563 IN BITCOIN
19   DIGITAL CURRENCY, AND
     $56,467.00 IN U.S. CURRENCY,
20
                Defendants.
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22
           Plaintiff United States of America brings this claim against the
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     defendants identified below, and alleges as follows:
24
                                 JURISDICTION AND VENUE
25
           1.    The government brings this in rem forfeiture action
26
     pursuant to 21 U.S.C. § 881(a)(6).
27
           2.    This Court has jurisdiction over the matter under
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 1   28 U.S.C. §§ 1345 and 1355.

 2           3.   Venue lies in this district pursuant to 28 U.S.C. § 1395.

 3                                PERSONS AND ENTITIES

 4           4.   The plaintiff in this action is the United States of

 5   America (the “plaintiff”).

 6           5.   The defendants (the “Defendant Assets”) are:

 7                a.   2849.09758934 Monero Digital Currency (the “Monero

 8   Currency”) seized by agents of the Department of Homeland Security –

 9   Homeland Security Investigations (“HSI”), on or about October 12,

10   2021;

11                b.   0.12554563 Bitcoin Digital Currency (the “Bitcoin

12   Currency”) seized by HSI on or about October 12, 2021; and

13                c.   $56,467.00 in U.S. Currency seized by HSI on or about

14   October 12, 2021.

15           6.   The Defendant Assets are in the custody of the Department

16   of Homeland Security, where they will remain subject to this Court’s

17   jurisdiction during the pendency of this action.

18           7.   The interests of David Anthony Glenn (“Glenn”) may be

19   adversely affected by these proceedings.

20                                BASIS FOR FORFEITURE

21                          Background on Digital Currency

22           8.   Digital currency (also known as cryptocurrency or virtual

23   currency) is generally defined as an electronic-sourced unit of value

24   that can be used as a substitute for fiat currency (i.e., currency

25   created and regulated by a government). Digital currencies exhibit

26   properties similar to other currencies, but do not have a physical

27   form, existing entirely on the internet. Digital currency is not

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 1   issued by any government or bank (in contrast with “fiat” or

 2   conventional currencies) and is instead generated and controlled

 3   through computer software operating on a decentralized peer-to-peer

 4   network. Digital currency is legal in the United States and accepted

 5   for legitimate financial transactions. However, it is also often used

 6   for conducting illegal transactions or for concealing or disguising

 7   the true nature, source, location, ownership, or control of illegally

 8   obtained criminal proceeds. Bitcoin is one of the most

 9   commonly used and well-known digital currencies. “Monero” is another

10   popular digital currency.

11         9.    A wallet is identified by unique electronic addresses that

12   essentially stores the access code that allows an individual to

13   conduct transactions on the public ledger. To access a wallet on the

14   public ledger, an individual must use a public address (or “public

15   key”) and a private address (or “private key”). The public address

16   can be analogized to an account number while the private address is

17   similar to a password used to access that account. Even though the

18   public address of those engaging in digital currency transactions are

19   recorded on the public ledger, the true identities of the individuals

20   or entities behind the public address are not recorded. If a real

21   individual or entity is linked to a public address, however, it may

22   be possible to determine what transactions were conducted by that

23   individual or entity. Therefore, digital transactions are often

24   described as “pseudonymous,” meaning they are partially anonymous.

25   Most individuals are identified when they use a digital currency

26   exchanger to make a transaction between digital currency and fiat, or

27   through digital currency exchangers that voluntarily or through legal

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 1   order, cooperate with law enforcement.

 2                        DISCOVERY OF THE DEFENDANT ASSETS

 3    U.S. Customs and Border Protection Discovers Narcotics in an Inbound

 4                        International Parcel Sent to Glenn

 5         10.    In April 2021, United States Customs and Border Protection

 6   (“CBP”) intercepted a parcel (the “Parcel”) inbound from Mexico to

 7   the United States, addressed to Glenn at an address in Long Beach,

 8   California1 (the “Long Beach Residence”).
 9         11.    CBP conducts routine screenings of inbound packages from

10   outside the United States at mail and shipping facilities all over

11   the country. CBP is logistically unable to search all inbound

12   parcels, and thus uses a variety of methods to selects parcels for

13   examination.2
14         12.    Inside the Parcel, CBP agents discovered approximately 9.94

15   kilograms of suspected Dimethyltryptamine (“DMT”), a Schedule I

16   controlled substance.

17               LBPD and HSI Surveil Glenn’s Distribution Activity

18         13.    Following discovery of the Parcel, law enforcement agents

19   including from HSI and the Long Beach Police Department (“LBPD”)

20   conducted surveillance operations on Glenn and the Long Beach

21   Residence.

22         14.    Agents observed Glenn repeatedly travel to post offices in

23   different cities and mail a number of parcels. For example, on April

24   26, 2021, LBPD observed Glenn drop parcels at the USPS post office

25

26         1Pursuant to Local Rule 5.2-1, all personal residence addresses
     have been omitted from this Complaint.
27
           2Pursuant to 19 C.F.R. § 162.6, CBP agents do not need a
28   warrant to search inbound international mail such as the Parcel.
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 1   located at 11721 183rd St., Artesia, California. On May 4, 2021, LBPD

 2   also observed Glenn drop parcels at the USPS post office located at

 3   9835 Flower St., Bellflower, California.

 4         15.   On May 18, 2021, LBPD and HSI investigators established

 5   surveillance on Glenn at the Long Beach Residence. Agents observed

 6   Glenn leaving the Long Beach Residence carrying a large brown Amazon

 7   cardboard box and placing the box into his vehicle. Glenn was

 8   observed travelling from the Long Beach Residence and to a post

 9   office located at 21350 S. Avalon Blvd., Carson, California. Glenn

10   dropped at least one parcel into one of the mail slots inside the

11   post office lobby.

12         16.   Agents of the United States Postal Inspection Service then

13   seized and searched a parcel Glenn had dropped at the Carson post

14   office on May 18, 2021 pursuant to a federal search warrant. Inside,

15   agents found two DVD cases which had visible bulges in the middle and

16   were secured by a piece of tape. Inside each of the DVD cases was a

17   black bag with a Ziploc style closure at the top. Inside of both

18   black bags was a white crystal-like which field-tested positive for

19   methamphetamine and weighed 118.2g total (including packaging).

20                      The Search of the Long Beach Residence

21         17.   On October 7, 2021, LBPD detective Michelle Mounts obtained

22   a warrant from the Honorable Laura Laesecke, authorizing a search of

23   the Long Beach Residence for evidence of narcotics trafficking.

24         18.   On October 12, 2021, investigators approached the Long

25   Beach Residence and knocked on the front door, announcing themselves.

26   Agents advised Glenn to open the door, which Glenn refused to do so

27   until he saw the warrant. After several failed attempts to have Glenn

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 1   open the door, investigators forced entry into the Long Beach

 2   Residence and secured Glenn.

 3         19.    Inside the Long Beach Residence, investigating agents

 4   observed multiple containers of what appeared to be chemicals or

 5   precursor chemicals as well as machinery that appeared to be used to

 6   manufacture narcotics. Agents also found multiple packages and

 7   packaging materials consistent with distribution of suspected

 8   narcotics.

 9         20.    Investigating agents discovered a false cabinet wall which

10   hid another room in the Long Beach Residence. Inside this hidden

11   room, agents discovered three trays containing psilocybin mushrooms,

12   several hundred pounds of reddish powder resembling ground DMT

13   precursors, a pill press machine, a pharmaceutical mixer and three

14   bags of colored powdered pill binders. The pill press had blue powder

15   residue and included dies with logos similar to those used to make

16   ecstasy (MDMA) tablets.

17         21.    Inside the laundry room of the Long Beach Residence, agents

18   discovered three 5-gallon cans labeled Naphtha, a 5-gallon bucket

19   labeled sodium hydroxide and two large pressure cookers stained with

20   a reddish residue consistent with the DMT manufacturing process.

21         22.    Also inside the Long Beach Residence, investigators noticed

22   a television screen located in the main living connected to a

23   computer tower. The screen was illuminated, and the computer tower

24   was running. Several tabs appeared on the screen including “Dread

25   white house,” “yellowbrick,” ”Darknetlive,” “KSWAP,” “WHM,” and

26   “Invictus.”

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 1         23.   Each of these identified sites are known darknet 3 vendors
 2   and/or marketplaces, except KSWAP, which is a Monero exchange market.

 3         24.   At the bottom of the television screen, investigators

 4   noticed an icon for a cryptocurrency wallet app called “Exodus.” Upon

 5   viewing the app screen, investigators noticed the wallet contained

 6   approximately $800,000 USD in Monero Currency, and approximately

 7   $7,000 USD in Bitcoin Currency (representing the Monero Currency and

 8   Bitcoin Currency, respectively).

 9         25.   At the base of the television stand was a “ledger”

10   cryptocurrency hardware wallet that was not attached to any device.

11   Investigating agents then seized the ledger device and executed a

12   transfer of both the Monero Currency and the Bitcoin Currency from

13   the “Exodus” wallet open on Glenn’s computer to an HSI-issued cold

14   computer and HSI controlled cryptocurrency wallet.

15         26.   After the discovery of the digital currency, investigators

16   found U.S. Currency in several locations in the Long Beach Residence,

17   including a shoebox in the laundry room, on top of the pony wall in

18   the living room, and in a false compartment in the pony wall. The

19   total amount discovered was $56,467.00 in U.S. Currency.

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           3The “darkweb” or “dark net” refers to the part of the World
27   Wide Web that is only accessible by means of special software,
     allowing users and website operators to remain somewhat more
28   anonymous.
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 1                                  CLAIM FOR RELIEF

 2         Based on the above, plaintiff alleges that the Defendant Assets

 3   are or are derived from proceeds traceable to violations of

 4   21 U.S.C. § 841(a)(1) (distribution and possession with the intent to

 5   distribute controlled substances), and 21 U.S.C. § 846 (conspiracy to

 6   distribute controlled substances). The Defendant Assets are therefore

 7   subject to forfeiture pursuant to 21 U.S.C. § 881(a)(6).

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 1         WHEREFORE, plaintiff United States of America prays:

 2         (a)   that due process issue to enforce the forfeiture of the

 3   Defendant Assets;

 4         (b)   that due notice be given to all interested parties to

 5   appear and show cause why forfeiture should not be decreed;

 6         (c)   that this Court decree forfeiture of the Defendant Assets

 7   to the United States of America for disposition according to law; and

 8         (d)   for such other and further relief as this Court may deem

 9   just and proper, together with the costs and disbursements of this

10   action.

11    Dated: December 21, 2021             TRACY L. WILKISON
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                                       20               Huntington Beach
